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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      *
                                              *
      vs.                                     *
                                              *        Case No.: 21-cr-720-RDM
EZEKIEL KURT STECHER                          *
                                              *
      Defendant                               *


                            JOINT STATUS REPORT

      COMES NOW, the Defendant, Ezekiel Kurt Stecher, by and through counsel

Michael E. Lawlor, and Brennan, McKenna & Lawlor, Chtd., and the United States,

by Emory V. Cole, Assistant United States Attorney, and respectfully file this Joint

Status Report:

      1.     The parties are still in the process of plea negotiations and are

requesting an additional 30 days to finalize a plea.

      2.     Mr. Stecher consents to the tolling of the speedy trial clock for an

additional 30 days. At that time, the parties will contact the Court to schedule a

Rule 11 proceeding.




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                                 Respectfully submitted,

                                       /s/
                                 ________________________
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                                        /s/
                                 ________________________
                                 Emory V. Cole
                                 Assistant United States Attorney




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